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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                   4:08CR00217-06-WRW

ANTONIO HERNANDEZ, JR.

                                             ORDER

       Pending is the Prosecution’s Motion to Dismiss Without Prejudice (Doc. No. 151) in

which the Prosecution asks that, in the interest of justice, this case be dismissed as to Defendant

Antonio Hernandez, Jr. The Motion is GRANTED, and this case is DISMISSED WITHOUT

PREJUDICE as to Defendant Hernandez.

       IT IS SO ORDERED this 15th day of January, 2009.



                                                            /s/Wm. R. Wilson, Jr.
                                                      UNITED STATES DISTRICT JUDGE
